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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

In re: Oil Spill by the Oil Rig                     MDL No. 2179
       “Deepwater Horizon” in the Gulf              SECTION: J
       Of Mexico, on April 20, 2010
                                                    JUDGE BARBIER
This Document applies to:
11-274 c/w 11-cv-275                                MAGISTRATE SHUSHAN

                TRANSOCEAN’S SUR-REPLY IN OPPOSITION
      TO THE BP PARTIES’ MOTION FOR JUDGMENT ON THE PLEADINGS



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                  TRANSOCEAN’S SUR-REPLY IN OPPOSITION
        TO THE BP PARTIES’ MOTION FOR JUDGMENT ON THE PLEADINGS
TO THE HONORABLE JUDGE BARBIER:
        Transocean1 respectfully submits this Sur-Reply in Opposition to the BP Parties’ Motion

for Judgment, in which BP continues its attempt to pervert the industry’s contractual risk transfer

principles and insure BP’s pollution liabilities with Transocean’s insurance. Interestingly, BP

banishes its former CEO to a footnote, who testified that the custom is for BP contractually to

“take th[e] risk” for environmental liabilities. Further, BP claims that Transocean should have

no say in this matter, providing the Court parallel citations only to its insurers’ briefs, referring to

Transocean’s response in the reply only when it suits BP’s purpose, deeming it otherwise “fully

duplicative.” Dkt. Entry No. 3881-1, at 1 n.1. BP asks the Court to believe that Transocean’s

insurers will “escape from any liability for the spill,” id. at 2, if BP’s motion is denied. As the

Court is aware, however, at a minimum Transocean faces claims brought by its employees and

subcontractors’ employees against BP and others, and its potential liability for pollution and

other risks has not been determined. Transocean purchased insurance to cover that portion of

these risks that are not otherwise covered by BP’s contractual indemnity obligations.

                                              ARGUMENT

I.      BP’S ANALYSIS OF AUBRIS IS INCORRECT AND ITS INTREPRETATIONS
        OF THE ADDITIONAL INSURED PROVISION ARE UNREASONABLE.
        A.      BP Omits or Glosses over a Necessary Step in the Aubris Analysis.
        In its reply, BP uses a four-step comparison to contend that this case is the same as the

Evanston and Aubris decisions. Dkt. Entry No. 3881-1, at 2–3. BP states:

                In both ATOFINA and Aubris, as in this case, (a) there was a
                service agreement between an owner-operator and a contractor; (b)
                the service agreement included a limited indemnity by the
                contractor in favor of the owner-operator; (c) the service

1
 Intervenors Transocean Offshore Deepwater Drilling, Inc., Transocean Holdings LLC, Transocean Deepwater, Inc.
and Triton Asset Leasing GmbH (collectively “Transocean”).
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               agreement also contained a separate insurance provision obligating
               the contractor to secure “additional insured” liability coverage for
               the owner-operator; and (d) pertinent insurance policies did not
               clearly and unambiguously limit the scope of the owner-operator’s
               “additional insured” coverage to the scope of the indemnity in the
               service agreement.
Contrary to Aubris, BP ignores the fact that the entire additional insured provision in the service

agreement must be interpreted to determine if an additional insured obligation exists. In Aubris,

566 F.3d 483, the Fifth Circuit determined that the additional insured policy endorsement (“if

that written contract for insurance specifically requires such coverages”), id. at 486, necessitated

an interpretation of the service agreement’s additional insured provision, id. at 489–90 (opinion

section III.C.). Similarly, here, the policies’ “but only to the extent of” language in Section I (or,

alternatively, Endorsement 1’s “where required by written contract”) requires interpretation of

the last clause of the drilling contract’s additional insured provision. Yet BP hopes to convince

the Court simply to skip this step in the analysis and ignore that language. The reason is

obvious: In section III.C. of Aubris, United was able to propose a reasonable interpretation of

that additional insured provision, id. at 489, whereas BP is unable to do so in this case.

       B.      Neither of BP’s Two Attempts to Interpret the Last Clause of the Drilling
               Contract’s Additional Insured Provision Is Reasonable.
       BP finally realizes that it cannot completely ignore, and must attempt a reasonable

interpretation of, the last clause of the drilling contract’s additional insured provision:

               Vastar [BP], its subsidiaries and affiliated companies, co-owners,
               and joint venturers, if any, and their employees, officers, and
               agents shall be named as additional insureds in each of
               CONTRACTOR’S [Transocean’s] policies, except Workers’
               Compensation for liabilities assumed by CONTRACTOR under
               the terms of this Contract.
However, both of BP’s attempts at construing the foregoing are manifestly unreasonable.




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                 1.       The “for liabilities assumed by CONTRACTOR” language is not
                          related to creating an exception for workers’ compensation coverage.
        BP’s first attempt argues that the “for liabilities assumed by CONTRACTOR” language

only applies to workers’ compensation. Dkt. Entry No. 3881-1, at 26. Falling back on a

“missing comma” argument, BP says “except Workers’ Compensation” combines with “for

liabilities assumed by CONTRACTOR” to create an exception for workers’ compensation

coverage. BP is correct that “except Workers’ Compensation” means that Transocean need not

name BP as an additional insured in its workers’ compensation policy. But “for liabilities

assumed by CONTRACTOR” is not necessary to create such an exception; BP “shall be named

as additional insureds in each of [Transocean’s] policies, except Workers’ Compensation”

suffices. “[F]or liabilities assumed by CONTRACTOR”—because it must be given meaning—

clearly serves a different purpose.           It limits Transocean’s additional insured obligations to

liabilities assumed by Transocean in the contract’s indemnity provisions.

        Texas contract law also forecloses BP’s “missing comma” argument. BP may not create

ambiguity (i.e., by its attempt at reasonable interpretation) by relying on missing punctuation:

                 The following rules with reference to punctuation have been
                 announced: The words, not the punctuation, are the controlling
                 guide in construing a contract. If the meaning of the words is
                 clear the court will interpret a contract according to their meaning
                 and without regard to the punctuation marks or the want of them.
                 While punctuation may be resorted to in order to solve an
                 ambiguity which it has not created, punctuation or the absence of
                 punctuation will not of itself create ambiguity.2
Ambiguity requires two reasonable interpretations. Transocean reasonably interprets the words

with or without the comma. BP’s interpretation can give meaning to the words only by focusing

on a “missing comma”; as this creates rather than resolves an ambiguity, it is unreasonable.


2
  Anderson & Kerr Drilling Co. v. Bruhlmeyer, 136 S.W.2d 800, 803–04 (Tex. 1940) (emphases added) (noting that
“we may insert the comma, in order to ascertain from the words used the intention of the parties”); see also Criswell
v. European Crossroads Shopping Ctr., 792 S.W.2d 945, 948 (Tex. 1990) (“. . . it is well settled. . . .”).


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        Even beyond this, BP’s restriction of “for liabilities assumed by CONTRACTOR” to

workers’ compensation makes no sense. If BP is correct—and Transocean is not required to

name BP as an additional insured only in Transocean’s workers’ compensation policy for

liabilities assumed by Transocean under the contract—then Transocean would be required to

name BP as additional insured on Transocean’s worker’s compensation policy for liabilities

assumed by BP. Thus, if one of BP’s employees sustains a bodily injury and brings a workers’

compensation claim against BP, BP could make a claim as an additional insured under

Transocean’s workers’ compensation policy. Three reasons prevent this. First, the insurance

industry does not recognize additional insured coverage in workers’ compensation policies.3 It is

absurd to read the contract to obligate Transocean to buy a custom coverage program that does

not exist. Second, BP is responsible for its employees’ injuries and Transocean is responsible for

its employees’ injuries under the drilling contract’s “knock-for-knock” risk transfer scheme for

bodily injury, and this scheme is vitiated if workers’ compensation claims by BP employees fall

under Transocean’s workers’ compensation policy.4 Third, workers’ compensation coverage is

akin to a first party coverage that covers an employer, like BP, for BP employees’ workers’

compensation claims. In contrast, “for liabilities assumed by CONTRACTOR” refers to third

party coverage, i.e., coverage for claims brought by an employee—like a BP worker—against

parties other than BP. Why would a third party concept be used to exclude additional insured

status for first party coverage? BP’s first interpretation makes no sense and should be rejected.


3
  JACK P. GIBSON ET AL., THE ADDITIONAL INSURED BOOK 321 (6th ed. 2011) (“The standard workers compensation
and employers liability insurance policy used in most states is designed to cover employers for liability imposed on
them by statute o[r] common law for injuries to their employees. Since the sole purpose of the policy is to cover
injuries to the insured’s employees, it is not generally appropriate to provide additional insured status as is
commonly done with liability insurance.”). Even where there are unique circumstances, such as borrowed servants
or employee leasing, where one organization is presented with an exposure that might be best covered under the
policy of another organization, this is not done by naming a party as an additional insured; a special “alternate
employer” endorsement is added to the workers’ compensation policy. Id.
4
   See Art. 21 of the Drilling Contract.


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                  2.       The “for liabilities assumed by CONTRACTOR” language can only
                           be interpreted as a coverage ceiling, not as a minimum requirement.
         BP’s second attempt reads “for liabilities assumed by CONTRACTOR” to be some form

of a “minimum requirement” for additional insured coverage. Dkt. Entry No. 3881-1, at 28.

BP contends that this language is a floor, not a ceiling, because it does not start with the word

“only,” and that, if the relevant policies contain no limitations, coverage is unrestricted. And yet

adding the word “only” to “for liabilities assumed by CONTRACTOR” does not change the

clause’s meaning. With or without “only,” the sentence extends additional insured coverage to

BP for liabilities assumed by Transocean. Under Texas law, the expression of one category of

liabilities excludes all other liabilities—e.g., those assumed by BP.5 BP’s circular argument—

that “the policies themselves provide more” coverage than the contract—ignores the effect of the

policies’ “but only to the extent of” language (or, alternatively, “where required by written

contract”). Per Aubris, this means determining the policies’ coverage by interpreting the drilling

contract’s clear reference to the indemnities. Finally, BP says Evanston supports its “minimum

requirement” position, but the decision there to provide Atofina with $5.75 million in coverage

over the minimum requirement of $500,000, 256 S.W.3d at 662–63, is not relevant to whether

the policy provision and contract language in this case6 extend additional insured coverage.

Thus, BP’s second interpretation is also unreasonable.




5
  CKB & Assocs., Inc. v. Moore McCormack Petroleum, Inc., 734 S.W.2d 653, 655 (Tex. 1987) (“The maxim
expressio unius est exclusio alterius, meaning that the naming of one thing excludes another, though not conclusive,
is applicable to these facts.”); see also St. Paul Mercury Ins. Co. v. Lexington Ins. Co., 78 F.3d 202, 206 (5th Cir.
1996) (“Under that doctrine, the enumeration of one or more of the elements of a class ‘implies [the] exclusion of all
not expressed, even though all would have been implied had none been expressed.’”).
6
  Because the facts did not implicate it, the Evanston contract’s limitation of additional insured coverage was not
before the Texas Supreme Court or the court of appeals. See Dkt. Entry No. 3707-2, at 21–22.


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        C.       BP’s Attempts to Distinguish Becker, Oryx and LeBlanc Are Superficial.
        BP misconstrues Becker,7 Oryx and LeBlanc.8 While the latter two decisions addressed

the meaning of a contractual additional insured provision if the contractual indemnity provision

it referred to was limited (Oryx) or unenforceable (LeBlanc) under an anti-indemnity statute,

each panel still had to construe and give effect to the surviving additional insured provisions.

Under the language of the additional insured provisions in each case, the court held that a party

owed an obligation to secure additional insured coverage when the limited or unenforceable

contractual indemnity provision allocated the risk to that party. Thus, in Oryx, a Texas insurance

case, the Fifth Circuit held that Mallard owed an additional insured obligation because the “to the

extent of the indemnity” language in the drilling contract’s additional insured provision

referenced the contractual indemnity Mallard owed Oryx for bodily injury to Mallard’s

employee.9      Likewise, the LeBlanc court recognized that the contract’s additional insured

provision obligated Frank’s Casing to secure additional insured coverage to the extent it owed

contractual indemnity to Global Marine for the injuries to Frank’s employee.10 These cases

demonstrate the interrelationship between the additional insured and indemnity provisions here.

        D.       BP Creates a Dichotomy between the Existence or “Status” of Additional
                 Insured Coverage and the “Scope” of Additional Insured Coverage that, if It
                 Exists at All, Does Not Apply in this Case.
        Misapplying Evanston and Aubris—by elevating case-specific interpretations of unique

contractual language into a rigid rule of Texas insurance law—BP argues that status and scope of

additional insured coverage are always separate issues. BP claims that only scope is at issue

7
  BP concludes that Becker was a maritime contract case and inapplicable, and simply moves on. However, BP does
not take the next logical step to elevate its conclusion to the level of an argument: showing how the analysis in
Becker is in any way different from or inconsistent with Aubris. BP does not because it cannot. As noted in
Transocean’s response, Dkt. Entry No. 3707-2, at 10–13, 29, Becker’s approach is wholly consistent with Aubris.
8
  BP also cites the wrong additional insured policy provision from Oryx. Dkt. Entry No. 3881-1, at 9–10. The
Fifth Circuit relied on two others. Compare 142 F.3d at 258 with 957 F. Supp. 936 (definitions of “Assured”).
9
  Certain Underwriters at Lloyd’s London v. Oryx Energy Co., 142 F.3d 255, 258 (5th Cir. 1998).
10
   LeBlanc v. Global Marine Drilling Co., 193 F.3d 873, 875 (5th Cir. 1999).


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here, “a question determined solely by reference to the policies.” Dkt. Entry No. 3881-1, at 11.

But here, status and scope of additional insured coverage are answered in one sentence. The

policies’ “but only to the extent” or “where required by written contract” language, as Aubris

teaches, triggers the drilling contract’s “for liabilities assumed by [Transocean]” language. The

drilling contract’s one-sentence additional insured provision—every word of it—determines

whether BP is an additional insured or not.

II.     BP HAS NOT REBUTTED TRANSOCEAN’S ARGUMENT THAT ITS MOTION
        MUST BE CONVERTED TO A MOTION FOR SUMMARY JUDGMENT.
        BP insists that its motion should be considered on the pleadings,11 but two issues require

conversion: (1) Texas law stating that a contract’s “surrounding circumstances” are necessary to

determine whether there is (but never to create) an ambiguity and to reinforce (but never to vary

the terms of, as in parol evidence) the reasonableness of a party’s interpretation of that contract;

and (2) Texas law stating that contra proferentem does not apply to “sophisticated insureds.”

Both principles apply here as a result of BP’s claim to “the pro-coverage presumptions of Texas

insurance law.” Dkt. Entry No. 3881-1, at 16. These presumptions claimed by BP12 require

consideration of matters outside the pleadings and, under Rule 12(d), BP’s motion must be

considered under Rule 56.

        “Surrounding circumstances” require a court presented with two interpretations of a

contract to decide in common-sense fashion whether there is more than one reasonable

interpretation—i.e., ambiguity—or not. They do not, as BP says, admit parol evidence to change

or vary what the terms of a contract mean.13 And they do not permit the creation of an ambiguity


11
   BP ignores Transocean’s Rule 12(d) motion focused entirely on this point. See Dkt. Entry No. 3706-1.
12
   BP criticizes Transocean’s insurers for not providing “material allegations” sufficient to warrant conversion of
BP’s motion. See Dkt. Entry No. 3881-1, at 13–14. Yet it is BP’s allegations of various presumptions that require
consideration of matters outside the pleadings and that made fact questions relevant to this motion.
13
   This is not a parol evidence problem, where a contract plainly says X and Transocean attempts to introduce
evidence that what Transocean actually intended to say was Y, and the court should vary X to mean Y.


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by converting a facially unreasonable interpretation into a reasonable one.14 Is there ambiguity,

i.e., is BP’s interpretation of the drilling contract also reasonable? As seen, it asks the Court

either to ignore half of the contract’s additional insured provision or give that half an impossible

construction, I.B., supra; assign pollution risk and insurance differently than any other company-

contractor relationship in the Gulf; and do so without respect to the parties’ abilities to bear a

loss or initial desire to insure it. “Surrounding circumstances” will reinforce the flaw in BP’s

interpretation15 and confirm the merits of Transocean’s interpretation.16 A presumption is only

at issue if BP can first establish a reasonable interpretation. But surrounding circumstances—

including matters outside the pleadings—are necessary to resolve that issue.

         BP’s claim to a “pro-coverage” presumption is also defeated by the “sophisticated

insured” doctrine. Under this well accepted doctrine, no presumption arises when Transocean—

through whom BP claims coverage—drafted the policy language in part.17                              Moreover, BP

assumes a presumption applies to a drilling contract not drafted by the insurers, ignoring the

charge that BP has the burden to prove coverage here. Because of how the drilling contract’s




14
   Columbia Gas Transmission Corp. v. New Ulm Gas, Ltd., 940 S.W.2d. 587 (Tex. 1996) (“Whether a contract is
ambiguous is a question of law that must be decided by examining the contract as a whole in light of the
circumstances present when the contract was entered.”); see also Balandran v. Safeco Ins. Co. of Am., 972 S.W.2d
738, 741 (Tex. 1998) (“The Balandrans’ interpretation becomes even more reasonable when we consider the
circumstances surrounding the promulgation of this policy form.”).
15
   The Supreme Court of Texas recently resolved an insurance coverage dispute this point: “A written contract must
be construed to give effect to the parties’ intent expressed in the text as understood in light of the facts and
circumstances surrounding the contract’s execution, subject to the parol evidence rule[, which] does not prohibit
consideration of surrounding circumstances that inform, rather than vary from or contradict, the contract text. Those
circumstances include . . . ‘the commercial or other setting in which the contract was negotiated and other
objectively determinable factors that give context to the transaction between the parties.’” Houston Exploration Co.
v. Wellington Underwriting Agencies, Ltd., No. 08-0890, 2011 WL 3796361, at *9–10 (Tex. Aug. 26, 2011); see
also id. at *7–8 & n.2 (Jefferson, C.J., dissenting). Here, the surrounding circumstances of the contract and policies
corroborate, inform and contextualize Transocean’s facially-reasonable interpretation, while they shatter BP’s.
16
   See Columbia Gas, 940 S.W.2d at 591 (finding “[t]he only reasonable interpretation” to be the one that “properly
considers the circumstances surrounding the formulation of the contract”).
17
   The Vought case accurately predicts what a Texas court facing a “sophisticated insured” would do, as supported
amply by authorities from other jurisdictions applying it, and BP certainly quotes no authority opposed to it. See
Vought Aircraft Indus., Inc. v. Falvey Cargo Underwriting, 729 F. Supp. 2d 814, 823–28 (N.D. Tex. 2010).


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additional insured provision is phrased, this dispute is solely at the coverage level.18                            No

“exclusions” apply. Thus, it is BP’s burden to prove entitlement to more additional insured

coverage than “for liabilities assumed by [Transocean].” Regardless, because BP insists that any

interpretive disputes cut in BP’s favor, the “sophisticated insured” exception is triggered, as is

the issue of BP’s and Transocean’s sophistication and role in drafting. This is the focus of the

ongoing discovery. It requires converting BP’s motion.19

III.     BP’S INTERPRETATION OF THE INSURANCE POLICIES IS FLAWED.
         A.       Under Any of the Policy Provisions Potentially Relating to Additional
                  Insured Coverage, the Terms of the Drilling Contract Control this Dispute.
         Any provision potentially relating to additional insured coverage in Section I or II of the

policies requires coverage to be established by the terms of the drilling contract.20 Therefore, it

is not strictly necessary to decide which one creates additional insured coverage, since all have

language requiring interpretation of the drilling contract’s additional insured provision.21

         B.       The Declarations Are Not Subject to the Conflicting Conditions Clause.
         Assuming a difference even exists among the policy provisions, the priority of coverage

provision at Declarations “ITEM 12”— Section II covers liabilities “other than those covered in


18
   “Initially, the insured has the burden of establishing coverage under the terms of the policy. If the insured proves
coverage, then to avoid liability the insurer must prove the loss is within an exclusion.” Gilbert Tex. Constr., L.P. v.
Underwriters at Lloyd’s London, 327 S.W.3d 118, 124 (Tex. 2010); Rep. Waste Servs. of Tex., Ltd. v. Empire
Indem. Ins. Co., 98 F. App’x 970, 971 (5th Cir. 2004) (per curiam) (“Under Texas law, additional insureds must bear
the burden of proving additional insured status.” (footnotes omitted)).
19
    BP points out that this Court has decided the issue because it permitted parties to move for judgment on the
pleadings. Yet this only decided the “collateral pleadings” issue to foreclose any claim that, by attaching the drilling
contract and policies, a 12(c) motion was procedurally one for summary judgment. By BP’s logic, Transocean
could argue for summary judgment because, in the same ruling, the Court permits motions for summary judgment.
20
   There are at least three provisions potentially relating to additional insured coverage: (1) under Section I, the P&I
coverage section, Condition D) Subpart 1 provides additional insured coverage “but only to the extent as may be
required under contract or agreement”; (2) in Section II, the general liability and claims made coverage section,
Condition 3 of Endorsement 1 extends additional insured coverage “where required by written contract, bid or work
order”; and (3) assuming that the definitions provide additional insured coverage without reference to any other
terms in the policies, which is denied, Section II’s definitions of “Insured” in Endorsement 4, Subpart 27 and
“Insured Contract” in Endorsement 4, Subpart 32, define “Insured” to include “any . . . entity to whom the “Insured”
is obligated by . . . written “Insured Contract” . . . to provide insurance.”
21
    See also III.B.1. of Transocean’s Response, Dkt. Entry No. 3707-2, at 32, and III.B.2. of Transocean’s
Response, Dkt. Entry No. 3707-2, at 34.


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Section I above and/or difference in conditions to Section I above”—mandates that Section I

provide the applicable coverage. Section II.A. does not apply when Section I provides coverage.

BP replies with the “Conflicting Conditions” clause, Condition 2 of Endorsement 1:

               In the event of a conflict between the clauses contained in the
               General Conditions, Section I and II, and endorsements, the
               broadest interpretation will insure to the benefit of the Insured.
By its terms, the conflicts clause does not apply to Declarations. The General Conditions, where

the conflicts clause is found, also specifically recognize a distinction between “Declarations” and

the other policy provisions referenced above when Condition 1 references the “Declarations

Page.” Therefore, if it was intended for the conflicts clause to apply to the Declarations, the

clause would specifically refer to the Declarations. Since it does not, the conflicts clause does

not apply to the Declarations, and the Declarations’ priority of coverage provision controls.

       C.      “Where Required by Written Contract” in General Condition 3 Can Only
               Refer to the Drilling Contract’s Additional Insured Provision.
       BP tries to read “where required by written contract, bid or worker order” out of

Condition 3 in Endorsement 1, focusing on “automatically included hereunder.” Dkt. Entry No.

3881-1, at 25. The “automatically included hereunder” language simply means that no further

steps are necessary to provide additional insured coverage to BP—e.g., specifically naming BP

as an additional insured in an endorsement, etc.—if the contract’s additional insured provision

covers BP. It does not allow BP to ignore “for liabilities assumed by CONTRACTOR.”




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                                     CONCLUSION

       BP’s Motion for Judgment on the Pleadings must be denied.




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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on this 13th day of September, 2011, I

electronically transmitted a PDF version of this document to the Clerk of Court, using the

CM/ECF System, for filing and has been served on all counsel by electronically uploading the

same to Lexis Nexis File & Serve in accordance with Pretrial Order No. 12.




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